                                                    Notice Recipients
District/Off: 0970−2                           User: medinad                      Date Created: 5/12/2020
Case: 2:20−bk−03676−DPC                        Form ID: 309A                      Total: 17


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          NANCY B GARCIA LARADA                 12801 S HERMIT RD           BUCKEYE, AZ 85326
tr          MAUREEN GAUGHAN                PO BOX 6729         CHANDLER, AZ 85246−6729
aty         THOMAS ADAMS MCAVITY                  PHOENIX FRESH START BAKRUPTCY ATTORNEYS                       4602 E
            Thomas Rd, Ste S−9        PHOENIX, AZ 85028
smg         AZ DEPARTMENT OF REVENUE                  BANKRUPTCY & LITIGATION                 1600 W. MONROE, 7TH
            FL.       PHOENIX, AZ 85007−2650
16024547 Abrazo West Campus            POB 745869         Los Angeles CA 90074
16024546 Abrazo West Campus            POB 83093         Birmingham AL 35283−0913
16024548 Arizona Department of Revenue            P.O. Box 52016       Phoenix AZ 85038−9204
16024549 Auto Now Financial Ser          Attn: Bankruptcy        Po Box 816        Glendale AZ 85311
16024550 Central Credit Services, LLC          9550 Regency Square Blvd        Suite 500 A       Jacksonville FL 32225
16024551 Emerald AR Systems            3636 North Central Avenue        Suite 650       Phoenix AZ 85012
16024552 Enhanced Recovery Corp            Attn: Bankruptcy       8014 Bayberry Road         Jacksonville FL 32256
16024553 Internal Revenue Service         PO Box 7346         Philadelphia PA 19101
16024554 Iq Data International        Attn: Bankruptcy       Po Box 340         Bothell WA 98041
16024555 Kls Financial Services         Attn: Bankruptcy       991 Aviation Parkway Ste 300        Morrisville NC
            27560
16024556 Sandia Resolution Co LLC           c/o James R. Vaughan         11445 E Via Linda, Ste 2−610       Scottsdale AZ
            85259
16024558 Transworld System Inc          Attn: Bankruptcy        Po Box 15630         Wilmington DE 19850
16024557 smilebrand          100 Spectrum Center Drive        Suite 1500       Irvine CA 92618
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